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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

  CENTER FOR BIOLOGICAL
  DIVERSITY, et al.,

          Plaintiffs,

         v.                                          CASE NO. 1:21-cv-00119 (RDM)

  U.S. ENVIRONMENTAL
  PROTECTION AGENCY, et al.,

          Defendants.



       JOINT MOTION TO MODIFY ADMINISTRATIVE RECORD DEADLINES

       The parties, by and through undersigned counsel, respectfully submit this Joint Motion to

Modify Administrative Record Deadlines set by the Court’s April 19, 2022, minute entry order.

In accordance with that order, the Federal Defendants lodged the administrative records by July

18, 2022. Dkt. 86, 89, 90. In addition to the EPA administrative record, the administrative

records produced by USFWS and the Corps total more than 10,000 pages. Plaintiffs and

Intervenors are currently due to bring any concerns to the Federal Defendants’ attention by

August 1, 2022. Min. Entry (Apr. 19, 2022). In order to provide the parties with sufficient time

to review these documents, attempt to resolve any disputes relating to the contents of the

administrative records, and address remaining issues, if any, with the Court, the parties

respectfully request that the schedule be modified as follows:

      Plaintiffs/Intervenors notify Federal Defendants of any record issues by 9/1/2022;

      Federal Defendants respond to Plaintiffs/Intervenors by 9/16/2022;

      Any agreement to add to the record(s) to be filed by Federal Defendants by 9/30/2022;



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      If no (or only partial) agreement, Plaintiffs/Intervenors file motions challenging adequacy

       of the record(s) by 10/7/2022;

      Federal Defendants’ Response to motions due by 11/4/2022;

      Plaintiffs’/Intervenors’ Reply due by 11/14/2022;

      Status conference with the Court (currently set for 10/21/2022) to be rescheduled subject

       to the Court’s availability the week of 11/14/2022.

Dated: July 26, 2022                         Respectfully submitted,

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                               CERTIFICATE OF SERVICE

      I hereby certify that on this 26th day of July 2022, I electronically filed the foregoing

document using the CM/ECF system. Service was accomplished by the CM/ECF system.

                                             Respectfully submitted,

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